              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                CIVIL CASE NO. 1:17-cv-0001-MR-DLH



BRYAN CURRY, TERRAN BROOKS,      )
JERMAINE WILLIS, and BRIAN       )
HOPPER, on behalf of themselves  )
and all others similarly situated,
                                 )
                                 )
                   Plaintiffs,   )
                                 )               MEMORANDUM OF
     vs.                         )               DECISION AND ORDER
                                 )
                                 )
SCHLETTER INC.,                  )
                                 )
                   Defendant.    )
________________________________ )

      THIS MATTER is before the Court on the Defendant’s Motion to

Dismiss [Doc. 24].

I.    PROCEDURAL BACKGROUND

      The Plaintiffs, who consist of both former and current employees of the

Defendant Schletter Inc., initiated this action on January 3, 2017, asserting

claims for negligence, invasion of privacy, breach of implied contract, breach

of fiduciary duty, and violations of the North Carolina Identity Theft Protection

Act, N.C. Gen. Stat. §§ 75-60, et seq. (“NCITPA”), and the North Carolina

Unfair and Deceptive Trade Practices Act, N.C. Gen. Stat. §§ 75-1.1, et seq.




     Case 1:17-cv-00001-MR-DLH Document 35 Filed 03/26/18 Page 1 of 18
(“UDTPA”). [Doc. 1]. After being served with a Summons and a copy of the

Complaint, the Defendant filed a Motion to Dismiss. [Doc. 10].

         On May 15, 2017, the Plaintiffs filed an Amended Complaint [Doc. 23],

thereby rendering the Defendant’s Motion to Dismiss moot. On May 25,

2017, the Defendant filed its second Motion to Dismiss. [Doc. 24]. On June

8, 2017, the Plaintiffs filed their Response in Opposition. [Doc. 26]. On June

15, 2017, the Defendant filed its Reply to the Plaintiffs’ Response. [Doc. 27].

Having been fully briefed, this matter is ripe for disposition.

II.      FACTUAL BACKGROUND

         Taking the well-pled allegations of the Amended Complaint as true, the

following is a summary of the relevant facts.

         The Defendant is a part of Schletter Group, a worldwide manufacturer

and distributor of solar mountings systems.                   [Doc. 23 at ¶ 1].         The

Defendant’s North American headquarters is in Shelby, North Carolina. [Id.].

The named Plaintiffs are proposed class representatives for a putative class

consisting of both current and former employees of the Defendant.1 [Id. at ¶

87].




1   To date, neither the Plaintiffs nor the Defendant have moved for class certification.


                                      2
        Case 1:17-cv-00001-MR-DLH Document 35 Filed 03/26/18 Page 2 of 18
      As a condition of employment, the Defendant requires that employees

entrust it with certain personal information. In its ordinary course of business,

the Defendant maintains personal and tax information, including name,

address, zip code, date of birth, wage and withholding information, and

Social Security number, of its current and former employees (hereinafter,

“personal identifying information” or “PII”). The Plaintiffs, as current and

former employers, relied on the Defendant to keep this information

confidential and securely maintained. [Id. at ¶ 49].

      On or about April 19, 2016, the Defendant mailed a form letter to all

current and former employees throughout the United States, advising that

the employees’ 2015 W-2 tax form information had been sent to an

unauthorized third party in response to a W-2 phishing email scam

(hereinafter “the Data Disclosure”). [Id. at ¶ 50]. The letter indicated that the

Defendant had learned of this incident on or about April 13, 2016, but gave

no information as to the actual date when the tax data had been disclosed.

[Id. at ¶ 51]. An attachment to the April 19, 2016 letter indicated that the

Defendant would be offering credit monitoring and identity theft protection

services to those affected for a one-year period. [Id.].

      The Defendant sent additional correspondence to its former and

current employees on or about April 25, 2016, advising that the Defendant



                                   3
     Case 1:17-cv-00001-MR-DLH Document 35 Filed 03/26/18 Page 3 of 18
would extend the identity theft protection and credit monitoring coverage to

a period of 24 months. [Id. at ¶ 53].

      The Defendant was not without warning of this phishing email scam.

On August 27, 2015, the Federal Bureau of Investigation (“FBI”) had issued

a report warning of the increasingly common scam, known as Business

Email Compromise, in which companies fall victim to phishing emails.

Significantly, this report called attention to the significant spike in scams, also

referred to as “spoofing,” in which cyber criminals send emails that appear

to have initiated from the CEO or other top level executive at the target

company. [Id. at ¶ 57]. On February 24, 2016, cybersecurity journalist Brian

Krebs warned of the precise scam which snared the Defendant in a blog

entitled: “Phishers Spoof CEO, Request W2 Forms.” Krebs warned that

cybercriminals were attempting to scam companies by sending false emails,

purportedly from the company’s chief executive officer, to individuals in the

human resources or accounting department asking for copies of W-2 data

for all employees. Krebs even provided an example of such an email that

had been sent to another company. [Id. at ¶ 63]. Further, on March 1, 2016,

the IRS issued an alert to payroll and human resources professionals

warning of the same scheme. [Id. at ¶ 64].




                                   4
     Case 1:17-cv-00001-MR-DLH Document 35 Filed 03/26/18 Page 4 of 18
      Despite the widespread prevalence of spoofing aimed at obtaining

confidential information from employers and despite the warnings of the

2016 tax season W-2 email scam, the Defendant provided its employees

with unreasonably deficient training on cybersecurity and information

transfer protocols prior to the Data Disclosure. [Id. at ¶ 65]. Specifically, the

Defendant failed to adequately train its employees on even the most basic

of cybersecurity protocols, including: (a) how to detect phishing and spoofing

emails and other scams including providing employees examples of these

scams and guidance on how to verify if emails are legitimate; (b) effective

password management and encryption protocols for internal and external

emails; (c) avoidance of responding to emails that are suspicious or from

unknown sources; (d) locking, encrypting and limiting access to computers

and files containing sensitive information; (e) implementing guidelines for

maintaining and communicating sensitive data; and (f) protecting sensitive

employee information, including personal and financial information, by

implementing protocols on how to request and respond to requests for the

transfer of such information and how to securely send such information

through a secure file transfer system to only known recipients. [Id. at ¶ 66].

      The Data Disclosure was caused by the Defendant’s failure to abide

by best practices and industry standards concerning the security of its



                                   5
     Case 1:17-cv-00001-MR-DLH Document 35 Filed 03/26/18 Page 5 of 18
computer and payroll processing systems. The Defendant failed to comply

with security standards and allowed its employees’ PII to be compromised

by failing to implement security measures that could have prevented or

mitigated the Data Disclosure. The Defendant failed to implement even the

most basic of security measures to require encryption of any data file

containing PII sent electronically, even within the company. [Id. at ¶ 69].

      The Defendant failed to ensure that all personnel in its human

resources and accounting departments were made aware of this well-known

and well-publicized phishing email scam. [Id. at ¶ 70]. The Defendant also

failed to timely disclose the extent of the Data Disclosure, failed to

individually notify each of the affected individuals in a timely manner, and

failed to take other reasonable steps to clearly and conspicuously inform

Plaintiffs of the nature and extent of the Data Disclosure. By failing to provide

adequate and timely notice, the Defendant prevented the Plaintiffs from

protecting themselves from the consequences of the Data Disclosure. [Id.

at ¶ 71].

      The Defendant has not provided compensation to the employees

victimized in this Data Disclosure. The Defendant has not offered to provide

any assistance or compensation for the costs and burdens, both current and

future, associated with the identity theft and fraud resulting from the Data



                                   6
     Case 1:17-cv-00001-MR-DLH Document 35 Filed 03/26/18 Page 6 of 18
Disclosure. The Defendant has not offered employees any assistance in

dealing with the IRS or state tax agencies. The Defendant has not offered

to reimburse employees for the costs, both current and future, incurred as a

result of falsely filed tax returns. [Id. at ¶ 82].

       To date, the Defendant has offered its employees only two years of

identity theft protection through Core ID’s ARX-ID Complete service. The

Defendant has not offered to reimburse the cost of identity theft protection

services purchased by employees before the Defendant gave notice that it

would pay for such services. [Id. at ¶ 83]. In any event, the credit monitoring

service offered by the Defendant is inadequate to protect the Plaintiffs from

the threats they face, particularly in light of the PII stolen. [Id. at ¶ 84]. The

enrollment in the credit monitoring service provided by the Defendant has

neither prevented the Plaintiffs from experiencing fraudulent activity using

their PII nor alerted them that they had fallen victim to identity theft. [Id. at ¶

85].

       As a result of the Defendant’s failures to prevent the Data Disclosure,

the Plaintiffs allege that they have suffered and will continue to suffer

damages, including monetary losses, lost time, anxiety and emotional

distress. [Id. at ¶ 86].




                                     7
       Case 1:17-cv-00001-MR-DLH Document 35 Filed 03/26/18 Page 7 of 18
III.    STANDARD OF REVIEW

        The central issue for resolving a Rule 12(b)(6) motion is whether the

claims state a plausible claim for relief. See Francis v. Giacomelli, 588 F.3d

186, 189 (4th Cir. 2009). In considering Defendant’s motion, the Court

accepts the allegations in the Complaint as true and construes them in the

light     most    favorable   to   Plaintiff.   Nemet   Chevrolet,   Ltd.   v.

Consumeraffairs.com, Inc., 591 F.3d 250, 253 (4th Cir. 2009); Giacomelli,

588 F.3d at 190-92. Although the Court accepts well-pled facts as true, it is

not required to accept “legal conclusions, elements of a cause of action, and

bare      assertions    devoid     of    further   factual   enhancement....”

Consumeraffairs.com, 591 F.3d at 255; see also Giacomelli, 588 F.3d at 189.

        The claims need not contain “detailed factual allegations,” but must

contain sufficient factual allegations to suggest the required elements of a

cause of action. Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007);

see also Consumeraffairs.com, 591 F.3d at 256. “[A] formulaic recitation of

the elements of a cause of action will not do.” Twombly, 550 U.S. at 555.

Nor will mere labels and legal conclusions suffice. Id. Rule 8 of the Federal

Rules of Civil Procedure “demands more than an unadorned, the defendant-

unlawfully-harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009).



                                      8
        Case 1:17-cv-00001-MR-DLH Document 35 Filed 03/26/18 Page 8 of 18
      The complaint is required to contain “enough facts to state a claim to

relief that is plausible on its face.” Twombly, 550 U.S. at 570, 127 S. Ct. at

1974; see also Consumeraffairs.com, 591 F.3d at 255. “A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to

draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Iqbal, 556 U.S. at 678; see also Consumeraffairs.com, 591 F.3d at

255. The mere possibility that a defendant acted unlawfully is not sufficient

for a claim to survive a motion to dismiss. Consumeraffairs.com, 591 F.3d

at 256; Giacomelli, 588 F.3d at 193.         Ultimately, the well-pled factual

allegations must move a plaintiff’s claim from possible to plausible.

Twombly, 550 U.S. at 570; Consumeraffairs.com, 591 F.3d at 256.

IV.   DISCUSSION

      A.    Negligence and Breach of Implied Contract Claims

      The Plaintiffs allege that they were required to provide the Defendant

certain PII as a condition of their employment, and that the Defendant had a

duty to exercise reasonable care to protect that confidential information.

[Doc. 23 at ¶¶ 104-05]. The Defendant’s failure to protect that information,

the Plaintiffs contend, gives rise to a claim sounding in negligence, which is

pled as their first cause of action. [Id. at ¶¶ 103-22]. Alternatively, in their

third cause of action for breach of implied contract, the Plaintiffs characterize



                                    9
      Case 1:17-cv-00001-MR-DLH Document 35 Filed 03/26/18 Page 9 of 18
the Defendant’s duty to protect their confidential information as arising

implicitly from the employment agreement between the Defendant and its

employees. [Id. at ¶¶ 133-43].

      The Defendant moves to dismiss both claims. With respect to the

Plaintiffs’ claim for negligence, the Defendant argues that North Carolina’s

economic loss rules prohibits recovery for economic losses in tort when a

contract exists.   The Defendant, however, also seeks dismissal of the

Plaintiffs’ contract claim on the grounds that there was no contract, implied

or otherwise, between the parties regarding the safeguarding of PII.

      The Court declines to dismiss either claim at this stage. At the heart

of both causes of action is the Plaintiffs’ assertion that the Defendant, as their

employer, had a duty to safeguard and protect the confidential information

provided by their employees. Whether such duty arose from the parties’

employment contract or from other source remains to be determined from

the facts and evidence to be presented. At this juncture, however, the Court

is satisfied that the Plaintiffs have adequately stated a cause of action arising

from the Defendant’s breach of a duty to safeguard their employees’

confidential information. Accordingly, the Defendant’s motion to dismiss is




                                   10
     Case 1:17-cv-00001-MR-DLH Document 35 Filed 03/26/18 Page 10 of 18
denied with respect to the Plaintiffs’ claims for negligence and breach of

implied contract.2

      B.      Invasion of Privacy Claim

      In their second cause of action, the Plaintiff allege that the Defendant’s

disclosure of their PII constituted an invasion of their privacy by intrusion.

[Doc. 23 at ¶¶ 123-32].

      Under North Carolina law, the tort of invasion of privacy by intrusion is

defined as the intentional intrusion “physically or otherwise, upon the solitude

or seclusion of another or his private affairs or concerns . . . [where] the

intrusion would be highly offensive to a reasonable person.”                   Miller v.

Brooks, 123 N.C. App. 20, 26, 472 S.E.2d 350, 354 (1996) (citation and

internal quotation marks omitted), disc. rev. denied, 345 N.C. 344, 483

S.E.2d 172 (1997).         “Specific examples of intrusion include physically

invading a person's home or other private place, eavesdropping by

wiretapping     or   microphones,       peering     through     windows,      persistent


2 While this Motion to Dismiss was pending and after it had been fully briefed, the
Magistrate Judge directed the parties to brief the issue of whether the Plaintiffs’
negligence claim itself states a cause of action notwithstanding the application of the
economic loss rule. The Defendant argued in its supplemental briefing that the Plaintiffs’
negligence claim could not withstand scrutiny under Rule 12(b)(6) because North
Carolina does not establish any such legal duty on the part of an employer to safeguard
its employees’ private information. Notably, however, the Defendant did not raise this
argument in their motion to dismiss. Accordingly, the Court will not address such
argument further in the context of the present motion. The parties may revisit the issue
of whether such a duty exists under North Carolina law at the summary judgment stage.


                                   11
     Case 1:17-cv-00001-MR-DLH Document 35 Filed 03/26/18 Page 11 of 18
telephoning, unauthorized prying into a bank account, and opening personal

mail of another.” Burgess v. Busby, 142 N.C. App. 393, 406, 544 S.E.2d 4,

11 (2001).

      In Toomer v. Garrett, 155 N.C. App. 462, 574 S.E.2d 76 (2002), disc.

rev. denied, 357 N.C. 66, 579 S.E.2d 576 (2003), the plaintiff, a former state

employee, alleged that his supervisors intentionally allowed unauthorized

individuals access to his state personnel file. The North Carolina Court of

Appeals held that the plaintiff had stated a cause of action for invasion of

privacy, despite the lack of any physical or sensory intrusion, reasoning that

“[t]he unauthorized examination of the contents of one's personnel file,

especially where it includes sensitive information such as medical diagnoses

and financial information, like the unauthorized opening and perusal of one's

mail, would be highly offensive to a reasonable person.” Id. at 480, 574

S.E.2d at 90.

      Like the defendants in Toomer, the Defendant in the present case is

accused of giving unauthorized persons access to the Plaintiffs’ sensitive

information, including their dates of birth, addresses, and Social Security

numbers. The Plaintiffs have sufficiently pled allegations to plausibly allege

that the Defendant’s actions would be highly offensive to the reasonable

person, thus constituting an “intrusion” necessary to sustain a claim for



                                  12
    Case 1:17-cv-00001-MR-DLH Document 35 Filed 03/26/18 Page 12 of 18
invasion of privacy under North Carolina law. The Defendant’s motion to

dismiss the Plaintiffs’ second cause of action, therefore, is denied.

      C.    Breach of Fiduciary Duty Claim

      In their fourth cause of action, the Plaintiffs allege that the Defendant

was a fiduciary “in matters connected with their employment” and that the

Defendant breach its duty of care by failing to adequately protect their PII

and W-2 data. [Doc. 23 at ¶¶ 144-48].

      Under North Carolina law, “a fiduciary relation is said to exist wherever

confidence on one side results in superiority and influence on the other side;

where a special confidence is reposed in one who in equity and good

conscience is bound to act in good faith and with due regard to the interests

of the one reposing the confidence.” White v. Consolidated Planning, Inc.,

166 N.C. App. 283, 293, 603 S.E.2d 147, 155 (2004), disc. rev. denied, 359

N.C. 286, 610 S.E.2d 717 (2005) (quoting Vail v. Vail, 233 N.C. 109, 114, 63

S.E.2d 202, 206 (1951) (internal quotation marks omitted)). Under North

Carolina law, a fiduciary duty generally does not exist between an employer

and employee. Dalton v. Camp, 353 N.C. 647, 651, 548 S.E.2d 704, 708

(2001) (“the relation of employer and employee is not one of those regarded

as confidential”) (citation omitted).




                                   13
     Case 1:17-cv-00001-MR-DLH Document 35 Filed 03/26/18 Page 13 of 18
      In their Amended Complaint, Plaintiffs simply allege that the Defendant

had a fiduciary duty to them by virtue of being their employer. The Plaintiffs

fail to make any plausible allegations that their relationship with the

Defendant was anything more than a typical employer-employee

relationship. Accordingly, the Court concludes that the Plaintiffs have failed

to state a claim for breach of fiduciary duty. The Plaintiffs’ fourth cause of

action, therefore, is dismissed.

      D.    NCITPA and UDTPA Claims

      In their final causes of action, the Plaintiffs allege that the Defendant’s

actions constitute violations of both the NCITPA and UDTPA. [Doc. 23 at ¶¶

149-54, 155-66].

      While the Amended Complaint is not entirely clear, it appears that the

Plaintiffs are alleging two specific violations of the ITPA: § 75-62(a)(1) and §

75-62(a)(6). These provisions provide, in pertinent part, as follows:

            [A] business may not do any of the following:

            (1) Intentionally communicate or otherwise make
            available to the general public an individual’s social
            security number.

                               *     *     *

            (6) Sell, lease, loan, trade, rent, or otherwise
            intentionally disclose an individual's social security
            number to a third party without written consent to the
            disclosure from the individual, when the party making

                                  14
    Case 1:17-cv-00001-MR-DLH Document 35 Filed 03/26/18 Page 14 of 18
           the disclosure knows or in the exercise of reasonable
           diligence would have reason to believe that the third
           party lacks a legitimate purpose for obtaining the
           individual's social security number.

N.C. Gen. Stat. Ann. § 75-62(a)(1), (6). The NCITPA expressly provides that

a violation of § 75–62 is also a violation of the UDTPA. N.C. Gen. Stat. § 75-

62(d). Therefore, if the Plaintiffs state valid claims under the NCITPA, they

also state valid claims under N.C. Gen. Stat. § 75-1.1. Fisher v. Commc'n

Workers of Am., No. 08 CVS 3154, 2008 WL 4754850, at *5 (N.C. Super.

Oct. 30, 2008).

     In order to state a claim under § 75-62(a)(1), a plaintiff must allege

three elements: (1) that the defendant is a business; (2) that the defendant

communicated or otherwise made available to the general public the

plaintiff’s Social Security number; and (3) that the defendant acted with

intent. Fisher, 2008 WL 4754850, at *5. Here, the Plaintiffs have alleged

plausible facts from which a jury reasonably could conclude that the

Defendant committed a violation of § 75-62(a)(1) by communicating the

Plaintiffs’ Social Security numbers to an unknown cybercriminal, thereby

rendering the Plaintiffs’ otherwise protected and secure information

completely unprotected and non-secure.          It is unknown how many

cybercriminals were involved in the phishing scam, or whether the Plaintiffs’

PII was further disseminated to other cybercriminals.           Under these

                                  15
    Case 1:17-cv-00001-MR-DLH Document 35 Filed 03/26/18 Page 15 of 18
circumstances, it is not implausible that the Defendant’s actions in

responding to this phishing scam effectively made the Plaintiffs’ Social

Security numbers “available to the general public.”

      The Defendant argues that its actions cannot be considered a violation

of § 75-62(a)(1) because it did not “intend to communicate” the Plaintiffs’

Social Security numbers to the general public. The Plaintiffs, however, have

alleged sufficient facts to support a claim that the Defendant’s

communication, while solicited under false pretenses, was intentionally

made. As the Plaintiffs cogently set out in their brief, this was not a case of

a data breach, wherein a hacker infiltrated the Defendant’s computer

systems and stole the Plaintiffs’ information, but rather was a case of data

disclosure, wherein the Defendant intentionally responded to an email

request with an unencrypted file containing highly sensitive information

regarding its current and former employees. Based on these allegations, the

Plaintiffs have sufficiently alleged that the Defendant acted with the requisite

intent in communicating this information. See In re Maple, 434 B.R. 363, 372

(Bankr. E.D. Va. 2010) (construing similarly worded Virginia statute to

require “only an intent to communicate that which was disclosed” and noting

that the statute “does not require the purpose of the communication to be the

willful publication of the Social Security number itself”).



                                   16
     Case 1:17-cv-00001-MR-DLH Document 35 Filed 03/26/18 Page 16 of 18
      Turning now to the Plaintiffs’ claim under § 75-62(a)(6), the Court finds

that the Plaintiffs have sufficiently alleged that the Defendant intentionally

disclosed their Social Security numbers to an unauthorized third party and

that the Defendant should have known in the exercise of reasonable

diligence that the third party lacked a legitimate purpose for obtaining this

information.

      The Defendant argues that a business does not violate the NCITPA

when the alleged activity relates to “the collection, use, or release of a social

security number for internal verification or administrative purposes.” N.C.

Gen. Stat. § 75-62(b)(2).      The Defendant’s assertion that its action in

providing the W-2 information to a cybercriminal constitutes a disclosure for

“internal administrative purposes” is an affirmative defense which requires

development of the factual record and thus cannot be resolved at the Rule

12(b)(6) stage. See Fisher, 2008 WL 4754850, at *6.

      For all of these reasons, the Defendant’s motion to dismiss the

Plaintiffs’ fifth and sixth causes of action is denied.



                                   ORDER

      IT IS, THEREFORE, ORDERED that the Defendant’s Motion to

Dismiss [Doc. 24] is GRANTED IN PART and DENIED IN PART.



                                   17
     Case 1:17-cv-00001-MR-DLH Document 35 Filed 03/26/18 Page 17 of 18
              Specifically, the Defendant’s Motion is GRANTED with respect to the

              Plaintiffs’ claim for breach of fiduciary duty, and this claim is DISMISSED. In

              all other respects, the Defendant’s Motion is DENIED.

                         IT IS SO ORDERED.

Signed: March 26, 2018




                                                  18
                    Case 1:17-cv-00001-MR-DLH Document 35 Filed 03/26/18 Page 18 of 18
